Case 1:14-cv-11550-PBS Document 113-2 Filed 05/31/16 Page 1 of 6

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

ABDULRAHMAN ALHARBI,
Plaintiff,

or CIVIL ACTION NO.

GLENN BECK: THE BLAZE, INC.: 1:14-cv-11550-PBS

MERCURY RADIO ARTS, INC.; AND
PREMIERE RADIO NETWORKS, INC.,

Defendants.

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DECLARATION OF ALAN KOROWITZ
IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

I, Alan Korowitz, hereby depose and state under oath as follows:

1, I am currently the Executive Vice President/Sales of Premiere Networks, Inc.
(“Premiere”), and have served in that capacity since November 2012. Prior to that, I served as
Regional Vice President and Director of Sales (2009-2012) and Executive Vice President of
Operations (2001-2009) of Clear Channel Radio Sales, an affiliate of Premiere. In sum, I have
worked in radio sales for nearly thirty years.

2. I submit this Declaration in support of Defendants’ motion for summary
judgment. I am over the age of 21, competent to give this Declaration, and do so, except where
noted, based on personal knowledge of the facts stated herein.

3. I understand the Plaintiff in this case has alleged claims for defamation and unjust
enrichment against Premiere based on Premiere’s distribution of certain broadcasts of The Glenn

Beck Radio Program in April and May, 2013.
Case 1:14-cv-11550-PBS Document 113-2 Filed 05/31/16 Page 2 of 6

4, Premiere acts as the distributor of The Glen Beck Radio Program, and in that
regard earns revenue primarily based on advertising sales with respect to the program.

5. The document produced by Defendants labeled DEF-047596 reflects the amount
of revenue earned by Premiere on a monthly basis in connection with the distribution of The
Glenn Beck Radio Program in 2013. A true and correct copy of DEF-047596 is attached hereto
as Exhibit 1.

6. Premiere’s revenues relating to The Glenn Beck Radio Program in April and May -
of 2013 were ood HB respectively. Notably, these amounts are less
than the revenues earned in March and June, 2013. Revenues were highest during March of
2013, before the challenged broadcasts were aired.

7. In my experience, a single news story or short-term increase in ratings will not
have any discernible impact on radio advertising sales. Rather, advertising sales are driven by a
demonstrable sustained increase in ratings over a period consisting of at least several months.

8. Advertising revenues in April and May of 2013, generally reflect sales made any
number of months before that time.

9. Accordingly, the statements concerning the Plaintiff in no way could have
contributed to Premium’s advertising revenues in April and May, 2013, or anytime thereafter.

PURSUANT TO 28 U.S.C. § 1746(2), I DECLARE UNDER PENALTY OF
PERJURY THAT THE FOREGOING IS TRUE AND CORRECT,

EXECUTED ON mavas, 2016.

 

Alan Ko

 
Case 1:14-cv-11550-PBS Document 113-2 Filed 05/31/16 Page 3 of 6

CERTIFICATE OF SERVICE

I hereby certify that a true copy of the above document was served electronically on
May 31, 2016 upon counsel for Plaintiff at the address peter.haley@nelsonmullins.com.

/s/ Zachary C. Kleinsasser

 

 
Case 1:14-cv-11550-PBS Document 113-2 Filed 05/31/16 Page 4 of 6

KOROWITZ DECLARATION — EXHIBIT 1
vi we Case 1:14-cv-11550-PBS... Document 113-2... Filed.05/31/16. Page 5 of 6

 

Confidential DEF-047596

 
Case 1:14-cv-11550-PBS Document 113-2 Filed 05/31/16 Page 6 of 6

 

Confidential DEF -047587

 
